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Case 1:04-cv-01256-.]DT-STA Document 21 Filed 07/14/05 Page 1 of 4 Page|D 33

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EAS TERN DIVISION
F l L § D Bv
WILLIE CARNEY, ""'"€>Pb""*'~
JUL 1 4 2005

P]alntlff, Thomas M. Gou|d, Clerk
U. S. District Court

vS. No. 04_1253-T ""' °' °FTN' J°°“S°"

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
RODNEY CLARK,
Plaintiff,
VS. No. 04-1254-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.
FRED JONES,
Plaintiff, ,,_M,`H

VS. NO. 04-1256-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

Thls document entered on the docket sheet in compliance

with Rule 58 and/or 79 (a) FRCP on fn '/@ ' §§

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REGINALD CHARLES,
Plaintiff,
VS. NO. 04-1255-T

THE PROCTER & GAMBLE MANUFACTURING
COMPANY, a corporation,

Defendant.

ORDER OF REFERENCE

Defendant’s Motion for Protective Order is hereby referred to United States
Magistrate Judge Thomas Anderson for disposition

IT IS SO ORDERED.

JA S D. TODD
UN TED STATES DISTRICT JUDGE

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Honcrable J ames Tcdd
US DISTRICT COURT

